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   LIOR KATZ | CA BAR No. 284559
 1 KATZ LAW, APC
 2 11620 Wilshire Blvd., Suite 900
   Los Angeles, California 90025
 3 Tel: (844) 528-9529
   Fax: (310) 382-2110
 4 Email: Katzlawapc@gmail.com
 5 Attorney for Plaintiffs
 6 HARVEY D. KAGASOFF and KAZUKO KAGASOFF
 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                                     CENTRAL DISTRICT OF CALIFORNIA
 9
                                          SANTA ANA DIVISION
10
11 In re                                              Bk. No.: 8:18-bk-10946-CB
12
     ANN VICTORIA LUND,                               Adv. No.: 8:18-ap-01115-CB
13
                                                      Chapter 7
14                     Debtor.
                                                      ORDER GRANTING PLAINTIFFS’
15                                                    MOTION FOR SUMMARY JUDGMENT
   HARVEY D. KAGASOFF and KAZUKO                      AND FINDING THAT DEBT IS
16 KAGASOFF,
                                                      NONDISCHARGEABLE UNDER 11
17                                                    U.S.C. §§ 523(a)(2)(A) and 523(a)(6)
                       Plaintiffs.
18                                                    Cont. Hearing –
       vs.                                            Date: April 23, 2019
19                                                    Time: 1:30 p.m.
     ANN VICTORIA LUND,                               Courtroom: 5D
20                                                    Location: 411 West Fourth Street
                       Defendant.                               Santa Ana, CA 92701
21
22                                                    Honorable Catherine E. Bauer

23
             Plaintiffs Harvey D. Kagasoff and Kazuko Kagasoff’s (“Plaintiffs”) Motion for Summary
24
     Judgment (filed on March 8, 2019, as docket entry #22) came on for a noticed hearing before this
25

26 Court on April 23, 2019 at 1:30 p.m. Lior Katz of Katz Law, APC personally appeared on behalf
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 1
 2   of Plaintiffs. Scott Talkov of Reid & Hellyer, APC personally appeared on behalf of Defendant,
 3
     Ann Victoria Lund (“Defendant”). The Court, after reviewing the pleadings filed in this matter,
 4
     and considering the arguments on the record, with good cause appearing therefor, makes its Order
 5
     as follows:
 6
 7          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion for Summary

 8   Judgment (filed on March 8, 2019, as docket entry #22) is GRANTED in its entirety.

 9          IT IS FURTHER HEREBY ORDERED, ADJUDGED AND DECREED that the debt
10   owed by Defendant to Plaintiffs from the Judgment of the Orange County Superior Court in the
11
     case of Kagasoff v. Lund, et al., Case Number 30-2008-00114685-CU-PN-CJC (judgment filed on
12
     October 22, 2012) is excepted from discharge pursuant to 11 U.S.C. §§523(a)(2)(A) and
13
     523(a)(6).
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